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                                    UNITED STATES DISTRICT COURT

    lo   1                         NORTHERN DISTRICT OF CALIFORNIA
                                                                                           I
              CHRISTINE M. CHUAKAY,
                      Plaintiff,                     COMPLAINT FOR:
         v.
    14                                               1. VIOLATION OF THE TRUTH IN
         INDYMAC MORTGAGE SERVICING, A                  LENDING ACT (15 U.S.C. § 1601 et
    15
    16
    17
         DIVISION OF ONEWEST, FSB;
         INDYMAC BANK, F.S.B.; MTDS, INC.;
         ALLSTATE BANCORP, INC.;
         MORTGAGE ELECTRONIC
         REGISTRATION SYSTEM, INC.; ROBIN
         MORADZADEH; BENJAMIN P.
                                                        seq.)

                                                                 1
                                                     2. VIOLATION OF CALIFORNIA
                                                        ROSENTHA ACT
                                                     3. NEGLIGEN E
                                                     4. VIOLATION OF REAL ESTATE
                                                        SETTLEMENT PROCEDURES ACT
    18   COFFMAN; and DOES 1-20 inclusive,              (12 U.S.C. 2605 et seq.)
                                                     5. BREACH OF FIDUCIARY DUTY
    19                Defendants.                    6. FRAUD
                                               1     7. VIOLATIONS OF CALIFORNIA
    20                                                  BUSINESS & PROFESSIONS CODE
                                                        17200 et seq.
C
    21                                               8. BREACH OF CONTRACT
                                                     9. BREACH OF IMPLIED COVENANT
    22                                                  OF GOOD FAITH AND FAIR
                                                        DEALING
    23                                               10. WRONGFUL FORECLOSURE
                                                     DEMAND FOR JURY TRIAL




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 1         Plaintiff Joan Christine M. Chuakay ("Plaintiff'), by and through her counsel, for her
 2 Complaint against Defendants IndyMac Mortgage Servicing, A Division Of OneWest, FSB
 3 ("IMS"), IndyMac Bank, F.S.B. ("IMB"), MTDS, Inc. ("MTDS"), Allstate Bancorp, Inc.
 4 ("Allstate"), Mortgage Electronic Registration System, Inc., ("MERS") Robin Moradzadeh
 5 ("Moradzadeh"), and Benjamin P. Coffman ("Coffman") (collectively "Defendants"), pleads as
 6 follows:
 7                                   JURISDICTION AND VENUE
 8          1.      This Court has subject matter jurisdiction based on federal question under 28
 9 U.S.C. $5 1331 and 1367, 18 U.S.C. tj 1964(c) and 15 U.S.C. tj 1640(e). This is an action
10 asserting violations of federal statutes commonly known as the Truth In Lending Act ("TILA")
11 (15 U.S.C. tj 1601 et seq.), the Real Estate Settlement Procedures Act ("RESPA") (12 U.S.C. tj
12 2601 et seq.) and its implementing regulations, 12 C.F.R. Part 226, et seq. ("Regulation Z"), with
13 additional claims under California state law. These claims all arise out of the same controversy
14 and sequence of events.
15         2.       Venue is proper in this Court pursuant to 28 U.S.C. tj 1391(b)(2) in that a
16 substantial part of the events giving rise to the claim occurred in this judicial district.
17         3.       This Court has personal jurisdiction over the parties as all Defendants engage in
18 business within the State of California and the Northern District and thus have sufficient
19 contacts.
20         4.       Jurisdiction of this Court for the pendent state claims is authorized by Federal
2 1 Rule of Civil Procedure 18(a).
22         5.       Defendants, and each of them, regularly engage in business in the State of
23 California and regularly provide residential mortgage loans and related services to residents in
24 the State of California who wish to obtain a residential mortgage loan, and who contact or are
25 contacted by a loan officer for assistance in obtaining the necessary financing.
26         6.       Plaintiff brings this action against Defendants for damages and harm resulting
27 from the Defendants' negligent, fraudulent and unlawful conduct concerning a residential
28 mortgage loan transaction with the Plaintiff.

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                                                PARTIES

I          7.      The residential property, subject to this Complaint, is located at 19999 Stevens
l ~ r e e kDrive, # 107, Cupertino, County of Santa Clara, State of California ("Property").
           8.      Plaintiff is informed and believes, and thereon alleges that at all times mentioned
lin this Complaint, Defendant IMS is a diversified financial marketing and/or services
lcorporations engaged primarily in residential mortgage banking and/or related businesses.
rlaintiff believes that Defendant IMS is a residential mortgage loan servicer. Defendant IMS
Irepresented to Plaintiff that it has the right to service Plaintiffs residential mortgage loan and
Idemand mortgage payments from Plaintiff.

1          9.      Plaintiff is informed and believes, and thereon alleges that at all times mentioned
lin this Complaint, Defendant IMB is a diversified financial marketing and/or services
lcorporations engaged primarily in residential mortgage banking and/or related businesses.
l~efendantIMB is believed to be a residential mortgage lender and was the original lender for
l~laintiffs residential mortgage loan.
           10.     Plaintiff is informed and believes, and thereon alleges that at all times mentioned
lin this Complaint, Defendant MTDS is a diversified financial marketing and/or services
prporations engaged primarily in residential mortgage banking and/or related businesses.
l~efendantMTDS is believed to be employed by Defendant IMS to foreclose on Plaintiffs
    Property.
           11.     Defendant MERS is a Delaware corporation engaged in the business of holding
        to mortgages. It does business in California as evidenced by inclusion of its name on the
l ~ e e of
        d Trust. Defendant MERS was not registered to do business in California, and its agent

for service of process resigned March 25, 2009. The Deed of Trust in this case states:
                   "The beneficiary of this security instrument is MERS (solely as
                   nominee for Lender and Lender's successors and assigns) and the
                   successors and assigns of MERS. This security instrument secures
                   to Lender (I) repayment of the Loan and all renewals, extensions
                   and modifications of the Note; and (ii) the performance of
                   Borrower's covenants and agreements under this Security
                   Instrument and Note. For this purpose, the Borrower irrevocably
                   grants and conveys to Trustee, in trust, with power of sale the
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                following described property.
         12.    Defendant MERS' conduct, with respect to the Promissory Note and the Deed of
'rust in this case, is governed by "MERS Terms and Conditions" applicable to Defendants which
tate that:
                "MERS shall serve as mortgagee of record with respect to all such
                mortgage loans solely as a nominee, in an administrative capacity,
                for the beneficial owner or owners thereof from time to time.
                MERS shall have no rights whatsoever to any payments made on
                account of such mortgage loans, to any servicing rights related to
                such mortgage loans, or to any mortgaged properties securing such
                mortgage loans. MERS agrees not to assert any rights (other than
                rights specified in the Governing Documents) with respect to such
                mortgage loans or mortgaged properties. References herein to
                "mortgage(s)" and "mortgagee of record" shall include deed(s) of
                trust and beneficiary under a deed of trust and any other form of
                security instrument under applicable state law."
        13.     As a result of said express conditions, and pursuant to California Commercial
:ode   $5 1201(21), 3301, and 3309, Defendant MERS has no beneficial interest or right to
nforce the terms of the Promissory Note, because it is not in possession of the Promissory Note,
nd has no authority to conduct a non-judicial foreclosure sale.
         14.    At all times mentioned in this Complaint, Defendants Allstate, Moradzadeh, and
:offman sold Plaintiff the mortgage involved herein.
         15.    At all times mentioned in this Complaint, Defendant Coffman was the loan officer
rho sold Plaintiff the mortgage at issue. At that time, Defendant Coffman was licensed by the
Jalifornia Department of Real Estate as a salesperson. Defendant Coffman held himself out to
'laintiff as a loan officer employed by Defendant Allstate, and was acting within the course and
cope of that employment when he came into contact with Plaintiff and sold Plaintiff the
nortgage at issue.
         16.    At all times mentioned in this Complaint, Defendant Moradzadeh was a real estate
koker licensed by the State of California Department of Real Estate, and the Broker of record for
Iefendant Allstate.
         17.    Plaintiff is ignorant of the true names and capacities of the Defendants sued herein
lnder the fictitious names Does 1 through 20, inclusive, and Plaintiff will amend this Complaint
D   allege such names and capacities as soon as they are ascertained. Plaintiff is informed and
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 1 believes, and thereon alleges that each of said fictitiously named Defendants are responsible in
 2 some manner for the wrongful acts complained of herein.

 3   1     18.    Defendants, and each of them, at all relevant times herein were and still are agents
 4 for one another, and acting under the course and scope thereof, with knowledge and consent of
 5 each other.
 6                                     GENERAL ALLEGATIONS
 7          19.    This action arises out of a loan related activity to the Property of which the Plaintiff
 8 is the rightful owner.
 9          20.    Beginning in 1998 and continuing through 2009, lenders, including Defendant
10 IMB, their agents, employees, and related servicers, including Defendant IMS, developed a
11 scheme to rapidly infuse capital into the home mortgage lending system by selling mortgages on
12 the secondary market, normally three to five times, to create a bankruptcy remote transaction. The
13 lenders, including Defendant IMB, their agents, employees, and related servicers, including
     Defendant IMS, then pooled these mortgages into large trusts, securitizing the pool and selling
15 these securities on Wall Street as mortgage backed securities, bonds, derivatives and insurances,
16 often for twenty or thirty times the original mortgage. Such facts are so well known as to be
17 Judicially IVoticeable under Federal Rule of Evidence 201 and California Evidence Code $8 45 1
18 and 452.
19          21.    In selling these mortgage notes on the secondary market, Defendant IMB, along
20 with other Doe Defendants, failed to follow the basic legal requirements for the transfer of a
21 negotiable instrument and an interest in real property, including, but not limited to, written
22 assignments of the note and deed of trust, delivery of the deed of trust, or endorsements of the
23 note by the owner of the note, Plaintiffs Note and Deed of Trust included.
24          22.    In fact, no interest in Plaintiffs Mortgage Note, Deed of Trust or Property was ever
                      _&   I




25 legally transferred to any of the named Defendants, and that the named Defendants, as well as the
26 Doe Defendants, are in effect straw men, and parties without any standing before this Court to
27 assert legal rights with respect to this contractual transaction.
28          23.    Defendant IMS thus could not have been given the right to service Plaintiffs loan.

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 1 Accordingly, Plaintiff alleges Defendant IMS7representations to Plaintiff that it has the right to
 2 service Plaintiff's loan was and is fraudulent.
 3         24.     Defendant MTDS, as agent for Defendant IMS or other Doe Defendants, due to the
 4 failures noted above, was not legally entitled to initiate foreclosure proceedings against Plaintiffs
 5 Property.
 6         25.     Further, as this process became more and more profitable, the underwriting
 7 requirements were repeatedly reduced to ensure more and more unsuspecting borrowers. As the
 8 lenders reduced the underwriting requirements, they introduced the concept of "churning" loans
 9 involving a calculated plan to repeatedly refinance borrowers' loans, taking as much equity as
10 possible, and artificially driving up housing prices. In this case, Defendants Allstate,
11 Moradzadeh, and Coffman, in concert with Defendant IMB, placed Plaintiff into a predatory loan
12 with toxic terms with the ultimate objective of forcing Plaintiff to refinance their loan in the near
13 future for each of these Defendants' financial gain.
14         26.     Lenders, Defendant IMB included, regularly trained, directed, authorized andlor
15 participated with mortgage brokers to implement this scheme, giving them monetary incentives to
16 violate the borrower's trust.
17         27.     Finally, Lenders, Defendant IMB included, along with secondary market buyers,
18 identified herein as Doe Defendants, would then conspire with servicers, such as Defendant IMS,
19 to secrete the fraudulent transfers of Plaintiff's loan, as noted above, from Plaintiff, and to illegally
20 extort monies from the Plaintiff with the threat of negative credit reporting and foreclosure.
21         28.     On or about January 11,2007, Defendant Coffman approached Plaintiff telling her
22 that he was the loan officer for Defendant Allstate, and solicited her to refinance her residence.
23         29.     Defendant Coffman advised Plaintiff that he could get her the "best deal" and the
24 "best interest rates" available on the market. Defendant Coffman knew or should have known that
25 these assurances were false and misleading.
26         30.     When Plaintiff applied for this loan, she accurately described her income and
27 provided Defendant Coffman with documentation of her income including tax returns, bank
28 statements, W-2s and 1099s. Plaintiffs income was fraudulently overstated on the loan

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 1 application by the Defendant Coffman. Plaintiff had an income of $5,147.82 per month and the
 2 loan application stated Plaintiff had an income of $10,460.00 at the time the loan was made.
 3         3 1.    Plaintiff is now informed and believes, and thereon alleges that her income was
 4 overstated on the loan application by Defendant Coffman, without her knowledge or permission.
 5 Plaintiff is informed and believes, and thereon alleges that Defendant IMB's underwriters knew or
 6 should have known of the fraudulent information on the loan application but approved the loan
 7 anyway.
 8         32.     Defendant Coffman acted negligently on the transaction by overstating Plaintiffs
 9 income in order to qualify her for this refinance transaction. The standard housing and debt to
10 income ratios are 33% for housing and 38% for debt to income. Based on Plaintiffs monthly
11 income of $5,147.82 and using her minimum mortgage payments of $2,232.46, Plaintiffs ratio
12 was 43.36% for housing and 43.36% for debt to income. Using the fully amortized andlor fully
13 indexed rate of 7.814% (based on a margin of 2.80% plus the MTA index of 5.014%) mortgage
14 payments of $4,184.68, Plaintiffs ratio was 8 1.29% for housing and 8 1.29% for debt to income.
15 Based on the overstated monthly income of $10,460.00 and using the minimum mortgage
16 payments of $2,232.46, Plaintiffs ratio was 21.34% for housing and 21.34% for debt to income.
17         33.     Defendant Coffman advised Plaintiff that he, Defendant Coffman, could get
18 Plaintiff 100% financing for her residence, that her loan would be a fixed rate loan. Plaintiff
19 stated to Defendant Coffman that she did not want a prepayment penalty attached to her loan, and
20 Defendant Coffman assured Plaintiff that no prepayment penalty would be attached to Plaintiffs
2 1 loan. Defendant knew or should have known that these representations were false and designed to
22 induce Plaintiff to accept this loan to her detriment.
23         34.     In fact, Defendant Coffman actually sold Plaintiff a predatory loan with toxic
24 terms. The loan, in the amount of $480,000.00, carried a teaser rate of 1.450% for the first month,
25 than adjusted from 1.450% to 9.950% based on MTA index plus a 2.80% profit margin,
26 negatively amortized up to 115%, included a 3-year prepayment penalty. Plaintiffs initial
27 monthly payments for the loan was $1,3 18.46.
28         35.     The fees and commissions received by Defendants Allstate and Coffman for the

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 1 loan totaled $7,200.00.
 2         36.      Defendant Coffman further advised Plaintiff that if the loan ever became
 3 unaffordable, he would simply refinance it into an affordable loan, something Defendant Coffman
 4 knew or should have known was false and misleading. Defendant Coffman knew or should have
 5 known that these misrepresentations were designed to induce Plaintiff to accept this loan to her
 6 detriment.
 7         37.      Plaintiff was not given a copy of any of the loan documents prior to closing as
 8 required. At closing, Plaintiff was only given a few minutes to sign the documents. The notary
 9 did not explain any of the loan documents nor was Plaintiff allowed to review them. Plaintiff was
10 simply told to sign and initial the documents provided by the notary.
11         38.      Defendants Coffman, Allstate, and Moradzadeh knew or should have known that
12 these false and material misrepresentations were designed to induce Plaintiff to accept this loan to
13 her detriment.
14         39.      Plaintiff was not given a copy of any of the loan documents prior to closing as
15 required. At closing, Plaintiff was only given a few minutes to sign the documents. The notary
16 did not explain any of the loan documents nor was Plaintiff allowed to review them. Plaintiff was
17 simply told to sign and initial the documents provided by the notary. Further, Plaintiff did not
18 receive the required copies of a proper notice of cancellation.
19         40.      The facts surrounding this loan transaction were purposefully hidden to prevent
20 Plaintiff from discovering the true nature of the transaction and the documents involved therein.
21 Facts surrounding this transaction continue to be hidden from the Plaintiff to this day.
22         41.      On or about April 11,2007, Plaintiff completed the loan on the Property. The
23 terms of the loan were memorialized in a Promissory ]Vote, which was secured by a Deed of Trust
24 on the Property. The Deed of Trust identified Financial Title Corporation as Trustee, and
25 Defendant IMB as Lender.
26         42.      The Deed of Trust also identified Defendant MERS as nominee for the Lender and
27 Lender's successors and assigns, and the beneficiary. Defendant MERS has no standing in this
28 forum. It is not licensed to be and/or act as a nominee or a beneficiary of any of the Defendants,
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 1 nor does its Terms and Conditions, enumerated above, permit Defendant MERS to act in such
 2 capacity. Defendant MERS was developed to be a document storage company, not a nominee or a
 3 beneficiary of any of the Defendants. Therefore, the Deed of Trust must fail. Further, Defendant
 4 MERS was not licensed to do business in the State of California, and was not registered with the
 5 State of California at the inception of the loan involved herein.
 6         43.      Subsequent to the closing of Plaintiffs residential mortgage loan, Defendant IMS
 7 began demanding mortgage payments. However, Defendant IMS did not give Plaintiff notice that
 8 it acquired servicing rights, as required under 12 U.S.C § 2605(c).
 9         44.      Plaintiff remitted payments demanded by Defendant IMS. The payments
10 demanded monthly ranged from 2,232.46 to 4,184.68.
11         45.      On or about July 30,2009, a Notice of Default was filed in Santa Clara County,
12 California, by Defendant MTDS. This notice, however, identified Defendant MTDS as either the
13 original Trustee (which it was not), the substitute Trustee or acting as agent for the Beneficiary
14 under the Deed of Trust. The notice failed to explain when, how or under what authority
15 Defendant MTDS became a substitute Trustee or an agent for the Beneficiary.
16         46.      On or about November 2,2009, Defendant MTDS noticed the Trustee Sale of the
17 Property. This notice now identified MTDS as the duly appointed Trustee under the Deed of
18 Trust. Again, the notice failed to explain when, how or under what authority Defendant MTDS
19 was appointed Trustee. Plaintiff alleges both the Notice of Default and the Notice of Trustee Sale
20 are defective.
21         47.      On or about November 3,2009, a Qualified Written Request under RESPA
22 ("QWR or "Request") was mailed to Defendant IMS. The QWR properly identified the Plaintiff,
23 identified the loan in question, a statement of reasons for Plaintiffs belief that the account was in
24 error due to fraud at the inception of the loan, improper charges added to the loan, the improper
25 increase in the principal balance of Plaintiffs loan, and requested specific servicing related
     information from Defendant IMS. The QWR included a demand to rescind the loan under the

     I
27 TILA provisions. Defendant IMS has yet to properly respond to this Request.

28   1     48.      Plaintiff alleges that none of the named Defendants are a "person entitled to

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:nforceVthe security interest under the Note and the Deed of Trust, as defined in California
:ommercial Code 5 3301. Defendant IMB, in concert with other Doe Defendants sold Plaintiffs
iome loan to other financial entities, which "pooled" large numbers of loans, put them into trusts,
md sold securities based on Plaintiffs loans. None of the named Defendants own the loan subject
o this action, and none are entitled to enforce the security interest.
       49.     Defendant IMB regularly approved loans to unqualified borrowers, Plaintiff
ncluded, and implemented unlawful lending practices. Further, Defendant IMB employed
brokers and loan officers, including Defendants Allstate, Moradzadeh and Coffman, who were
)aid commissions based on the volume of loans they sold to consumers, Plaintiff included.
Iefendant IMB's loan officers received a greater commission or bonus for placing borrowers in
oms with relatively high yield spread premiums. As such, borrowers, Plaintiff included, were
teered and encouraged into loans with terms unfavorable to them, or loans which the borrowers,
'laintiff included, were not qualified to obtain.
       50.     Defendant IMS, in concert with other Doe Defendants, are now attempting to
)btain putative legal title to Plaintiffs Property without having established that any of them was
:ver a "person entitled to enforce" the security interest under the Note and the Deed of Trust.
       5 1.    Each of the named Defendants, in fact, is not a "person entitled to enforce" said
nterest. No legal transfer of the Mortgage Note, Deed of Trust or any other interest in Plaintiffs
'roperty was ever effected that gave any of the Defendants the right to be named a trustee,
nortgagee, beneficiary or an authorized agent of trustee, mortgagee or beneficiary of Plaintiffs
dortgage Note, Deed of Trust or any other interest in Plaintiffs Property.
       52.     Plaintiff entered into a loan transaction with Defendant IMB, which was subject to
inance charges, and which was initially payable to Defendant IMB under the Deed of Trust.
       53.     Plaintiffs loan is subject to TILA provisions and its implementing regulations, 12
2.F.R. Part 226 ("Regulation Z"). TILA grants consumers a three-day right to cancel certain types
)f real estate loan transactions. This three-day right to cancel applies to Plaintiffs loan with the
lefendants.
       54.     When the loan was consummated, Plaintiff did not receive the required documents

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md disclosures, including, but not limited to the TILA disclosure, and the required number of
:opies of the Notice of Right to Cancel stating the date that the rescission period expires.
       55.    Under TILA and Regulation Z, Defendants were required to clearly and
:onspicuouslydisclose the "amount financed" and the "finance charge," among other things, in
:onnection with the loan.
       56.    Defendant IMB and Defendant Moradzadeh, as agent of the Lender, were required
o provide Plaintiff with said disclosures, but failed to do so.

       57.    Further, Defendant IMS fraudulently added costs and charges to the payoff amount
~fthe Note that were not justified or proper under the terms of the Note or the law.
      58.     In pursuing the non-judicial foreclosure, Defendants IMS, MTDS, and other Doe
Iefendants, represented that they have the right to payment under the Mortgage Note, payment of
vhich was secured by the Deed of Trust. Whereas in fact, Defendants IMS, MTDS, and other
Ioe Defendants, and each of them, are not the real parties in interest because they are not the legal
rustee, mortgagee or beneficiary, nor are they authorized agents of the trustee, mortgagee or
~eneficiary,nor are they in possession of the Note, or holders of the Note, or non-holders of the
Jote entitled to payment, as required by the California Commercial Code $$ 3301 and 3309, and
:alifornia Civil Code $ 2924 et seq. Therefore, Defendants IMS, MTDS, and other Doe
Iefendants instituted foreclosure proceedings against Plaintiffs Property without rights under the
aw.
       59.    Named Defendants engaged in a civil conspiracy where by they secreted the nature
~fthe misdeeds alleged herein, the roles and identities of the various entities that were purportedly
landling the loan at any given time, and the transfers of the loan documents and negotiable
nstruments that are the subject of this action.
      60.     Defendant Coffman misrepresented material facts at the inception of the loan with
he intent of forcing Plaintiff to either pay large sums of money to the Defendants Allstate,
doradzadeh, Coffman, and IMB to which they were not entitled, or to abandon the Property to a
oreclosure sale, resulting in profit for all the named Defendants.
       61.    Defendant IMS misrepresented material facts regarding its right to service

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'laintiff s loan and demanded payments from Plaintiff, with the intent of forcing Plaintiff to pay
arge sums of money to the Defendant IMS to which it was not entitled, or to abandon the
'roperty to a foreclosure sale, resulting in profit for Defendant IMS.
       62.     The misrepresentations and allegations stated herein were all discovered within the
)ast year, such that any applicable statute of limitations are extended or should be extended
)ursuant to the equitable tolling doctrine or other equitable principles. Even through the exercise
~freasonable diligence, Plaintiff would still not have been able to learn of or file her claim on
ime.
                                  FIRST CAUSE OF ACTION
                        VIOLATION OF TRUTH IN LENDING ACT
                                      15 U.S.C. 5 1601 et seq.
                                    (Against Defendant IMB)
       63.    Plaintiff incorporates here each and every allegation set forth above.
       64.    The loan transaction at issue is a consumer credit transaction subject to the
revisions of TILA.
       65.    TILA grants consumers a three-day right to cancel certain residential mortgage
oan transactions. Pursuant to 15 U.S.C.   5 1635(a), the three-day cancellation period begins upon
he latter of the following events: (1) the "consummation of the transaction"; (2) the "delivery of
he information and rescission forms" required by that section; or (3) delivery of accurate
material disclosures" required by TILA. (15 U.S.C. 5 1635(a).) The "material disclosures" that
nust be provided to the consumer include accurate disclosure of the annual percentage rate, all
inance charges and the amount financed. (15 U.S.C. 5 1602(u).)
       66.     If the required notice of cancellation is not provided, or if the required "material
lisclosures" are not delivered, then the right to cancel extends to three years after the date of the
om, or if the facts of the transaction were hidden from the consumer, three years from the date
:onsumer discovered the hidden facts. (15 U.S.C. 5 1635(f).) If a consumer has the right to
escind against a creditor, the right will also apply to any assignees of that creditor. (15 U.S.C. 5
.641(c).)

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       67.       A consumer may exercise their right to cancel a transaction by delivering a written
iotification of the consumer's intent to rescind to the creditor's place of business. (12 C.F.R. $
!26.23(a)(2).) The consumer's notice to rescind is effective upon mailing. The notice mailed to
he agent servicing the loan is effective notice on the holder of the mortgage. (12 C.F.R. $
!26.23(a)(2).)
       68.       When a consumer rescinds a mortgage transaction, the security interest giving rise
o the right of rescission becomes void and the consumer is not liable for any amount, including
my finance or other charge. (1 5 U.S.C. $ 1635(b).)
       69.       Within twenty (20) days after the receipt of a consumer's election to cancel the
ransaction, the creditor must return to the consumer all money or property given, including all
nterest and finance charges paid, and shall take all action necessary or appropriate to reflect the
emination of any security interest created under the transaction. (15 U.S.C. $ 1635(b); 15 C.F.R.
j 226.23(d).)

       70.       Defendant IMB is a "creditor" as that term is defined by 15 U.S.C. $1602. The
ransaction between Plaintiff and Defendant IMB was a consumer loan transaction wherein
Iefendant IMB extended credit to the Plaintiff, and such credit was secured by an interest
~urportedlyheld by Defendant IMB in the Property.
       71.       As a consumer credit transaction, Defendant IMB was required to provide Plaintiff
vith the mandatory TILA disclosure statements and the notice of the Plaintiffs right to rescind,
~peciflingthe date on which the three-day rescission period expires.
       72.       Pursuant to Regulation Z, 12 C.F.R. $ 226.23(a)(3), Plaintiff has a continuing right
o rescind the loan transaction for up to three years after consummation of the transaction pursuant
to 15 U.S.C. $ 1635(a) and (f) and 12 C.F.R. $ 226.23(b)(5). Plaintiff hereby gives notice of
escission by and through this Complaint. Plaintiff will be willing and able to tender once the true
iolder of the Note and Deed of Trust has been identified and the reciprocal amounts owed
jetween Plaintiff and Defendants have been determined.
       73.       In the course of the transaction described herein, Defendant IMB violated TILA by
ailing to provide required disclosures prior to consummation of the transaction as required by 15

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U.S.C. 5 1638, failed to make required disclosures clearly and conspicuously in writing as
required by 15 U.S.C  5 1632(a), 12 C.F.R 5 226.5(a)(l), failed to timely deliver to Plaintiff TILA
notices as required by 15 U.S.C. 5 1638(b), and failed to disclose all finance charge details, the
m u a l percentage rate based upon properly calculated and disclosed finance charges and amounts
Financed as defined by 15 U.S.C.   5 1602(u).
       74.     Records from the transaction indicate that Defendant IMB extended credit to
Plaintiff without regard to her ability to pay, and falsified requisite income and appraisal
information to get the loan approved. Defendant IMB has engaged in a pattern and practice of
zxtending credit to consumers, Plaintiff included, under high rate mortgages without regard to the
:onsumers' repayment ability or the actual value of the property.
       75.     Had Defendant IMB properly and fully disclosed the terms of this loan pursuant to
TILA, Plaintiff would not have agreed to enter into this loan transaction or would have sought a
loan with more favorable terms elsewhere.
       76.     Defendant IMB is liable to the Plaintiff in the amount of twice the finance charge,
actual damages to be established at trial, and costs in accordance with 15 U.S.C.    5 1640(a).
       77.     Plaintiff is also entitled to the following: rescission of the loan transaction; an
~ d erequiring
      r        Defendants to take any and all actions necessary to terminate any security interest
in the Property, and a declaration by the Court that the security interest is void; expungement of
my and all foreclosure instruments, including but not limited, to any Notice of Default or Notice
~f Trustee's Sale relating to Plaintiffs Property from any public record; removal of any and all
derogatory information reported to any and all credit reporting agency or bureau relating to the
transaction involved herein; the return to the Plaintiff of any money given by the Plaintiff to any
~f the Defendants in connection with the loan transaction; statutory damages; costs and reasonable
attorney's fees; and such other relief as the Court may deem just and proper.
       78.     As a result of Defendant IMB'S conduct, Plaintiff has suffered and continues to
suffer damages in an amount to be proven at trial, which she is entitled to recover.
       79.     As a result of Defendant IMB's conduct, Plaintiff is entitled to declaratory and
injunctive relief preventing Defendant IMB from taking any action to collect on the loan, andlor to

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oreclose upon the Property, andlor to transfer the Property.
                                 SECOND CAUSE OF ACTION
                    VIOLATION OF CALIFORNIA ROSENTHAL ACT
                          CALIFORNIA CIVIL CODE 5 1788 et seq.
                                     (Against Defendant IMS)
       80.     Plaintiff incorporates here each and every allegation set forth above.
       8 1.    Plaintiff alleges that Defendant IMS is a debt collector within the meaning of the
tosentha1 Act in that they regularly, in the course of their business, on behalf or themselves or
,thers, engage in the collection of debt.
       82.     Defendant IMS used unfair and unconscionable means to collect a debt not owed
o Defendant IMS or its principal by sending deceptive letters and making phone calls to Plaintiff
lemanding payment.
       83.    Defendant IMS made false reports to credit reporting agencies about Plaintiffs
:redit standing, falsely stating the amount of Plaintiffs mortgage debt, falsely stating that a debt
vas owed to Defendant IMS, and falsely stating Plaintiffs payment history.
       84.     Further, Defendant IMS increased the amount of Plaintiffs mortgage debt by
ltating amounts not permitted by law or contract, including, but not limited to, excessive service
ees, attorneys' fees, and late charges.
       85.     Defendant IMS' actions have caused Plaintiff actual damages, including, but not
imited to, severe emotional distress, such as loss of appetite, frustration, fear, anger, helplessness,
lervousness, anxiety, sleeplessness, sadness and depression.
       86.     As a result of Defendant IMS' violations, Plaintiff is entitled to statutory damages
n an amount to be determined at trial, actual damages according to proof, and costs and
easonable attorneys' fees.
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                                       THIRD CAUSE OF ACTION
                                              NEGLIGENCE
                                          (Against all Defendants)
            87.    Plaintiff incorporates here each and every allegation set forth above.
            88.    Defendants Allstate, Moradzadeh, and Coffman owed a duty to the Plaintiff to
 6 exercise reasonable skill and care in the exercise of the agency duties for the Plaintiffs benefit and
 7 best interest and to perform acts as brokers of loans in such a manner as to not cause Plaintiff
 8 harm.
 9         89.     Defendants Allstate, Moradzadeh, and C o f h a n breached their duty to the Plaintiff
10 when they used their knowledge and skill to direct Plaintiff into a loan for which she was not
11 qualified based upon her income as stated in the documents provided to Defendants Allstate,
12 Moradzadeh, and Coffman.
13         90.     Defendants Allstate, Moradzadeh, and Coffman further breached their duty to
14 Plaintiff by directing her into a loan transaction that they may not have otherwise qualified for by
15 industry standards, resulting in excessive fees paid by the Plaintiff and payments in excess of
16 Plaintiffs ability to pay.
17         91.     Defendant IMB directly ordered, authorized and participated in Defendants
18 Allstate's, Moradzadeh's, and Coffman's conduct. As a result, Defendant IMB owed a duty to the
19 Plaintiff to perform acts in such a manner as to not cause Plaintiff harm. In addition, Defendant
20 IMB breached its duty of care to the Plaintiff when it failed to make the required disclosures to the
21 Plaintiff, failed to maintain the original Mortgage Note, and failed to properly assign or transfer
22 the negotiable instrument(s).
23          92.    Defendant IMS owed Plaintiff a duty of due care. Defendant IMS breached its
24 duty of care to the Plaintiff when it took payments to which it was not entitled, charged fees it was
25 not entitled to charge, and wrongfully made or otherwise authorized negative reporting of
26 Plaintiffs creditworthiness to various credit bureaus. Additionally, Defendant IMS had a statutory
27 duty to Plaintiff to properly respond to Plaintiffs Qualified Written Request pursuant to 12 U.S.C.
28 18 2605(e), and to give Plaintiff notice of the transfer of the servicing rights to their loan pursuant     I
                                                      16                                                 -*.
                                                 COMPLAINT
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 12 U.S.C. 5 2605(c).
      93.        Defendant MERS owed Plaintiff a duty to perform its administrative function
:cording, maintaining and transferring documents as it relates to Plaintiffs loan in a manner not
 cause Plaintiff harm. Defendant MERS breached its duty to Plaintiff when it failed to receive,
laintain or transfer the negotiable instrument related to Plaintiffs loan, communicated false
lformation to others regarding Plaintiffs loan, and authorized others to collect payments on
laintiff s mortgage and commence foreclosure proceedings.
      94.        As a result of Defendants' negligence, Plaintiff suffered and continues to suffer
arm, and is entitled to damages according to proof and/or other relief as the Court deems just.
                                  FOURTH CAUSE OF ACTION
         VIOLATION OF REAL ESTATE SETTLEMENT PROCEDURES ACT
                                       12 U.S.C. § 2605 et seq.
                                (Against Defendants IMS and IMB)
      95.        Plaintiff incorporates here each and every allegation set forth above.
      96.        The loan transaction between Plaintiff and Defendants is a mortgage loan covered
y RESPA.
      97.        A violation of RESPA is also made unlawful under California state law by
inancial Code tj 50505, which states: "[alny person who violates any provision of [RESPA] or
ny regulation promulgated thereunder, violates this division [California Residential Mortgage
,endingAct]. "
      98.        Plaintiff is not certain at this time exactly which of Defendants were actually the
zrvicer of the loan at any given time. Pursuant to 12 U.S.C.     55 2605(b) and 2605(c), Defendants
MB and IMS had a statutory obligation to notify Plaintiff, within 15 days, of the assignment, sale,
r transfer of the servicing rights to Plaintiffs loan. Defendants IMB and IMS failed to provide
laintiff notice of the assignment, sale, or transfer of servicing rights to Plaintiffs loan.
      99.        Defendant IMB violated RESPA at the time of the closing of the loan subject to
lis Complaint by failing to correctly and accurately comply with the disclosure requirements of
2 U.S.C 5 2601 et seq. and Regulation X.

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        100.    Plaintiff has served Defendant IMS a QWR that identified Plaintiffs name, loan
.umber, and a statement of reasons for Plaintiffs belief that the loan was in error. Plaintiffs
)WR, among other things, also sought rescission of the loan and requested production of service
elated documents. Defendant IMS violated RESPA, 12 U.S.C. 5 2605(e)(2), by failing and
efusing to provide a proper written explanation or response to Plaintiffs QWR.
        101.    Defendant IMB further violated 12 U.S.C.    5 2607 by receiving "kickbacks" or
eferral fees disproportional to the work performed.
        102.    Defendant IMS violated RESPA, 12 U.S.C. 5 2605(e)(2)(A), by failing to make
ppropriate corrections to Plaintiffs account in response to the QWR, including the crediting of
ny late charges or penalties and failing to transmit written notice of such corrections to Plaintiff.
        103.    Defendant IMS violated RESPA, 12 U.S.C. 5 2605(e)(2), by refusing to cease its
ollection efforts after receiving Plaintiffs QWR.
        104.    Defendant IMS violated RESPA, 12 U.S.C. 5 2605(e)(3), by providing information
3   consumer reporting agencies regarding overdue payments allegedly owed by Plaintiff that were
elated to their QWR.
        105.    As a result of Defendants IMS' and IMB's failure to comply with RESPA, Plaintiff
[assuffered and continues to suffer damages and costs of suit. Plaintiff is entitled to recover
tatutory damages, actual damages in an amount to be determined at trial, and costs and
easonable attorneys' fees.
                                  FIFTH CAUSE OF ACTION
                               BREACH OF FIDUCIARY DUTY
                (Against Defendants Coffman, Allstate, IMB, and Moradzadeh)
        106.    Plaintiff incorporates here each and every allegation set forth above.
        107.    Defendants Coffman, Moradzadeh, Allstate, and IMB were all agents for the
'laintiff by express and implied contract and by operation of law.
         108.   Defendant IMB gained a fiduciary duty to Plaintiff by directly ordering,
uthorizing and participating in Defendants Coffman's, Allstate's, and Moradzadeh's tortious
onduct.

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       109.    Defendant IMB regularly trained, directed, authorized and participated with
nortgage brokers to implement this scheme, including giving them monetary incentives to violate
he borrower's trust.
       110.    Plaintiff hired Defendants Allstate, Moradzadeh, and Coffman as her agents for the
iurpose of obtaining a loan to refinance the Property.
       111.    Pursuant to an agreement between the parties, Plaintiff agreed to pay Defendants
illstate, Moradzadeh, and Coffman a commission from the proceeds of her loan and agreed to
lay Defendant IMB substantial fees to originate her loan.
       112.    Defendants Allstate, Moradzadeh, and Coffman, by and through their agents, and
)efendant IMB through its interjection into the brokerage of the loan as described above, owed a
iduciary duty to the Plaintiff to act primarily for her benefit, to act with proper skill and diligence,
nd not to make a personal profit from the agency at the expense of their principal, the Plaintiff.
       113.    As Plaintiffs agents, Defendants Coffman, Moradzadeh, Allstate, and IMB owed
'laintiff a duty of loyalty and a duty to deal fairly with her at all times.
       114.    Defendants Coffman, Moradzadeh, Allstate, and IMB willfully or recltlessly
reached their fiduciary duty and duty of loyalty by obtaining a mortgage loan for her that had
nfavorable terms and that she could not ultimately afford, by not disclosing the negative
onsequences of said loan, by securing a secret profit for themselves, by not properly complying
vrith TILA and RESPA requirements, and by engaging in unfair business practices.
       115.    Defendant IMB, through its own actions, interfered with Defendants Coffman's
nd Moradzadeh's fiduciary obligations by offering Defendants Moradzadeh and Coffman,
:spectively, training, direction and incentives to breach their fiduciary duty by means of creating
nd participating in a scheme that created an illusion to consumers that they are being informed of
11 of the material facts, when in fact they are not.
       1 16.   Defendant Moradzadeh, through her actions, interfered with Defendant Coffman's
iduciary obligations by offering Defendant Coffman training, direction and incentives to breach
.is fiduciary duty by means of creating and participating in a scheme that created an illusion to
onsumers that they are being informed of all of the material facts, when in fact they are not.

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       117.      Plaintiff has been damaged as a result of Defendants' breach, and is entitled to
ctual damages.
       118.      Defendants consciously disregarded Plaintiffs rights, deliberately breaching their
espective fiduciary duties, showing willful misconduct, malice, fraud, wantonness, oppression
nd entire want of care, thus authorizing the imposition of punitive damages pursuant to
:alifornia Civil Code 8 3294.
                                   SIXTH CAUSE OF ACTION
                                               FRAUD
                                      (Against all Defendants)
       119.      Plaintiff incorporates here each and every allegation set forth above.
       120.      As alleged herein, Defendants Coffman, Moradzadeh, and Allstate made false
epresentations to Plaintiff regarding material facts, including but not limited to, interest rates,
inancing options, availability of refinancing, and Plaintiffs qualification for this loan, at the
nception of this transaction, designed to fraudulently induce Plaintiff to enter into this
ransaction.
       121.      As alleged herein, Defendant IMB regularly trained, directed, authorized and
larticipated with mortgage brokers to implement this fraudulent scheme, training brokers and loan
~fficers,including Defendants Coffman, Moradzadeh, and Allstate to direct unsuspecting
lorrowers, Plaintiff included, into toxic loans, giving brokers direction as to which toxic loans to
lirect borrowers into, directing their underwriters to approve loans to these unqualified borrowers
nd giving the brokers and loan officers monetary incentives to violate the borrower's trust.
       122.      As alleged herein, Defendant IMS misrepresented to Plaintiff that IMS has the
ight to collect monies from Plaintiff on its behalf or on behalf of others when Defendant IMS had
LOlegal right   to collect such monies.
       123.      As alleged herein, Defendant MERS misrepresented to Plaintiff on the Deed of
'rust that it is a qualified beneficiary with the ability to assign or transfer the Deed of Trust andlor
he Note andlor substitute trustees under the Deed of Trust. Further, Defendant MERS
nisrepresented that it followed the applicable legal requirements to transfer the Note and Deed of

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rrust to subsequent beneficiaries.
       124.    As alleged herein, Defendant MTDS misrepresented to Plaintiff that Defendant
dTDS was entitled to enforce the security interest and has the right to institute a non-judicial
oreclosure proceeding under the Deed of Trust when they filed a Notice of Default on July 30,
!009. In fact, Defendant MTDS was not a trustee, mortgagee or beneficiary, nor is it an
~uthorizedagent of the trustee, mortgagee or beneficiary, nor is it in possession of the Note, or
lolder of the Note, or non-holder of the Note entitled to payment, as required by California
2ommercial Code $ 5 3301 and 3309. As a result, Defendant MTDS did not have the right to
nitiate foreclosure proceeding herein under California Civil Code 5 2924 et seq.
       125.    These material representations made by the named Defendants were false.
       126.    The named Defendants knew that these material representations were false when
nade, or these material representations were made with reckless disregard for the truth.
       127.    The named Defendants intended that Plaintiff rely on these material
#epresentations.
       128.    Plaintiff reasonably relied on said representations.
       129.    As a result of Plaintiffs reliance, she was harmed and suffered damages. Plaintiffs
teliance on Defendants' false material representations was a substantial factor in causing Plaintiff
lam.

       130.    Additional evidentiary facts constituting fraud in this matter are within named
lefendants' knowledge and possession and have been secreted by named Defendants.
       131.    These named Defendants, and each of them, conspired together to perpetrated the
iaud alleged herein over the course of several years.
       132.    These named Defendants are guilty of malice, fraud andlor oppression, as defined
n California Civil Code 5 3294. The named Defendants' actions were malicious and done
willfully, in conscious disregard of the rights and safety of Plaintiff in that the actions were
:alculated to injure Plaintiff. As such, Plaintiff is entitled to recover, in addition to actual
iarnages, punitive damages to punish Defendants and to deter them from engaging in future
nisconduct.

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                               SEVENTH CAUSE OF ACTION
 VIOLATIONS OF CALIFORNIA BUSINESS & PROFESSIONS CODE § 17200 et seq.
                                     (Against all Defendants)
       133.   Plaintiff incorporates here each and every allegation set forth above.
       134.   Defendant IMS' violation of the Rosenthal Act, RESPA, its negligence, fraud and
llegal foreclosure activities, as alleged herein, constitute unlawful, unfair, andor fraudulent
msiness practices, as defined in the California Business and Professions Code 5 17200 et seq.
       135.   Defendant IMB' violation of TILA, RESPA, its negligence, breach of fiduciary
luty, fraud, breach of contract and breach of the implied covenant of good faith and fair dealing,
1s alleged herein, constitute unlawful, unfair, andor fraudulent business practices, as defined in
he California Business and Professions Code 5 17200 et seq.
       136.   Defendant MERS' negligence, fraud, and illegal foreclosure activities, as alleged
lerein, constitute unlawful, unfair, and/or fraudulent business practices, as defined in the
:alifornia Business and Professions Code 5 17200 et seq.
       137.   Defendant MTDS' negligence, fraud and illegal foreclosure activities, as alleged
lerein, constitute unlawful, unfair, andor fraudulent business practices, as defined in the
Zalifornia Business and Professions Code 5 17200 et seq.
       138.   Defendant Allstate's negligence, breach of fiduciary duty, fraud, breach of contract
md breach of the implied covenant of good faith and fair dealing, as alleged herein, constitute
mlawful, unfair, and/or fraudulent business practices, as defined in the California Business and
'rofessions Code 5 17200 et seq.
       139.   Defendant Moradzadeh's negligence, breach of fiduciary duty, fraud, breach of
:ontract and breach of the implied covenant of good faith and fair dealing, as alleged herein,
:onstitute unlawful, unfair, and/or fraudulent business practices, as defined in the California
3usiness and Professions Code 5 17200 et seq.
       140.   Defendant Coffman's negligence, breach of fiduciary duty, fraud, breach of
:ontract and breach of the implied covenant of good faith and fair dealing, as alleged herein,
:onstitute unlawful, unfair, andlor fraudulent business practices, as defined in the California

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Susiness and Professions Code $ 17200 et seq.
          141.        As a result of Defendants' wrongful conduct, Plaintiff has suffered various
lamages and injuries according to proof at trial.
          142.        Plaintiff seeks injunctive relief enjoining Defendants from engaging in the unfair
lusiness practices described herein.
          143.        Plaintiff further seeks restitution, disgorgement of sums wrongfully obtained, costs
~fsuit, reasonable attorneys' fees, and such other and further relief as the Court may deem just and
Iroper.
                                       EIGHTH CAUSE OF ACTION
                                         BREACH OF CONTRACT
                                                      OR
                                          IN THE ALTERNATIVE
                                       RESCISSION OF CONTRACT
                           (Against Defendants Coffman, Moradzadeh, and IMB)
          144.        Plaintiff incorporates here each and every allegation set forth above.
          145.        Plaintiff entered into an agreement with Defendants IMB, Coffman, and
Aoradzadeh, whereby Defendants promised to provide Plaintiff with an affordable loan.
          146.        Plaintiff fully performed her duties under the contract with Defendants Coffman,
Aoradzadeh, and IMB.
          147.        Defendants Coffman, Moradzadeh, and IMB breached their agreement with
'laintiff when they sold Plaintiff a predatory loan with toxic terms. Further, Defendants Coffman,
Aoradzadeh, and IMB breached their agreement with Plaintiff by failing to exercise reasonable
fforts and due diligence as promised, thus failing to provide Plaintiff with an affordable loan.
)efendants Coffman, Moradzadeh, and IMB also breached their agreement with Plaintiff by
ommitting wrongful acts, including but not limited to, intentionally or negligently failing to
lbtain payment and interest rates as promised, failing to submit an accurate loan application,
ailing to supervise, failing to provide loan documents for Plaintiffs review prior to closing, and
ailing to explain the loan documents to the Plaintiff. Defendants further breached their duties

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ken they failed to refinance the mortgage as promised, resulting in Plaintiffs payments
:reasing substantially shortly after the loan agreement was signed.
     148.    This breach by the Defendants Coffman, Moradzadeh, and IMB have sent Plaintiff
o foreclosure instead of financing her mortgage as agreed.
     149.   In the alternative, no contract existed between Plaintiff and Defendants Coffman,
xadzadeh, and IMB because of a mutual mistake relating to the basic or material contractual
ms alleged above. This mutual mistake was not caused by Plaintiffs neglect of her legal
ligations. Defendants Coffman, Moradzadeh, and IMB were aware of Plaintiffs mistaken
lief with respect to the material terms alleged above, and unfairly utilized that mistaken belief in
nanner that enabled them to take advantage of the Plaintiff.
     150.   As a result of Defendants1wrongful conduct, Plaintiff has suffered various
mages and injuries according to proof at trial.
     151.   Plaintiff further seeks rescission of the loan, restitution, disgorgement of sums
ongfully obtained, costs of suit, reasonable attorneys' fees, and such other and further relief as
: Court may deem just   and proper.
                                NINTH CAUSE OF ACTION
   BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                  (Against Defendants Coffman, Moradzadeh, and IMB)
     152.   Plaintiff incorporates here each and every allegation set forth above.
     153.   A duty of good faith and fair dealing were implied by law into the contract at issue
this action at its inception. Defendants Coffman's, Moradzadeh's, and IMB's duties of good
th and fair dealing included, but were not limited to, the following: (1) Defendants had a duty to
y at least as much regard to Plaintiffs financial interests as to Defendants1financial interests; (2)
:fendants had a duty to comply with all applicable laws in the State of California; (3)
:fendants agreed to act in good faith and deal fairly with Plaintiff when they entered into the
)rtgage and accepted payments from Plaintiff. Defendants Coffman, Moradzadeh, and IMB
:reby assumed obligations of good faith and fair dealing toward Plaintiff and thereby agreed to
ide by such obligations.
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       154.   Nevertheless, Defendants Coffman, Moradzadeh, and IMB breached the implied
luty of good faith and fair dealing owed to Plaintiff by, among other things, performing acts and
ailing to act as alleged herein, and by failing to perform the duties specifically enumerated herein.
       155.   Defendants Coffman, Moradzadeh, and IMB further breached the duty of good
aith and fair dealing by:
      a.      Failing to pay at least as much regard to Plaintiffs interests as to Defendants'
              interests;
      b.      Failing to disclose to Plaintiff the true nature of the loan that is the subject of this
              action;
      c.      Failing to give Plaintiff the requisite notice and disclosures;
      d.      Directing Plaintiff into a toxic loan.
       156.   In the absence of a reasonable basis for doing so, and with full knowledge and
eckless disregard of the consequences, Defendants Coffman, Moradzadeh, and IMB acted in bad
aith toward Plaintiff by, among other things, failing to comply with all applicable laws.
       157.   Plaintiff is informed and believes, and thereon alleges that Defendants Coffman,
Aoradzadeh, and IMB have a pattern and practice of similar bad faith conduct toward other
lorrowers who are similarly situated.
       158.   As a proximate result of Defendants Coffman's, Moradzadeh's, and IMB's
)reachesof the covenant of good faith and fair dealing alleged herein, Plaintiff has suffered
lamages, incurred attorneys' fees and costs to recover the Property, suffered a loss of reputation
nd goodwill, suffered emotional distress, and suffered other economic losses and damages in
mounts not yet fully ascertained but within the jurisdiction of this Court.
       159.   Defendants Coffman, Moradzadeh, and IMB pursued said course of conduct
ntentionally and maliciously and in conscious disregard of the rights of the Plaintiff. Further,
Iefendants Coffman's, Moradzadeh's, and IMB's refusal to follow through with their duty to
ssist Plaintiff was made with the intent to intimidate, vex and harass Plaintiff so as to discourage
ler from pursuing her legal rights under the mortgage law. In order to deter such conduct of
Iefendants Coffman, Moradzadeh, and IMB in the future, and to prevent repetition thereof as a

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ractice, by way of punishment and as example, Plaintiff prays that exemplary damages be
warded according to proof at trial pursuant to California Civil Code § 3294.
                                 TENTH CAUSE OF ACTION
                                WRONGFUL FORECLOSURE
                             (Against Defendants IMS and MTDS)
      160.    Plaintiff incorporates here each and every allegation set forth above.
      161.     California Commercial Code § 330 1 specifically identifies the persons who are
?titled to enforce a security interest by, among other means, instituting a foreclosure sale under a
zed of trust. The statute is exclusive rather than inclusive in nature, and those who are not
lentified do not have the right to enforce such an interest.
      162.    Defendants IMS and MTDS were not, and are not, in possession of the Note, are
3t beneficiaries, assignees or employees of the person or entity in possession of the Note, and are
ot otherwise entitled to payment. Defendants IMS and MTDS are not "person[s] entitled to
?forcenthe security interest on the Property, as that term is defined in Commercial Code § 3301.
      163.    Accordingly, Defendants IMS and MTDS are not entitled to utilize California Civil
ode 8 2924 et seq. (California's non-judicial foreclosure scheme) to wrongfully convert
laintiff s Property.
      164.    In the Notice of Trustee Sale, Defendant MTDS claims that it was the duly
3pointed Trustee pursuant to the Deed of Trust but fails to identify the holder of the beneficial
~terest.None of the Defendants are not in possession of the Note and, accordingly, none are not
?titled to enforce the security interest on the Property.
      165.     Given that none of the named Defendants ever acquired a right to enforce the Note
1d Deed of Trust due to defective transfers in this case, Defendants IMS and MTDS did not have
le right to commence foreclosure proceedings and as a result recorded defective Notices of
lefault and Notices of Trustee's Sale, in direct violation of the requirements set forth in
alifornia Civil Code § 2923.5. As a result, Plaintiff could not exercise their rights to investigate
le circumstances of the foreclosure proceedings.
      166.    Defendants IMS' and MTDS' failure to comply with the statutory requirements
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 1 denied Plaintiff .the opportunity to exercise her statutory rights, which the statute was specifically
 2 designed to protect.
 3         167.    As a direct and proximate result of said Defendants' wrongful actions, Plaintiff has
 4 suffered damages, including, but not limited to, direct monetary loss, consequential damages, and
 5 emotional distress.
 6         168.    In committing the wrongful acts alleged herein, said Defendants acted with malice,
 7 oppression and fraud. Said Defendants' willful conduct warrants an award of exemplary damages,
 8 in an amount sufficient to punish the wrongful conduct and to deter such misconduct in the future.
 9                DEMAND FOR JURY TRIAL AND PRAYER FOR DAMAGES
           Plaintiff Joan Christine M. Chuakay demands a trial by jury.
           WHEREFORE, Plaintiff prays for judgment and order against Defendants, as follows:
           1.      That judgment be entered in Plaintiffs favor and against Defendants, and each of
                   them;
           2.      For an order requiring ~efendantsto show cause, if they have any, why they should

l5   1             not be enjoined as set forth below, during the pendency of the action;

l6   1     3.      For a temporary restraining order, preliminary and permanent injunction preventing

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     1             Defendants, or anyone acting in concert with them, from collecting on the subject
                   loan and from causing the Property to be sold, assigned or transferred to a third
19                 Party;
20         4.      For an order stating that Defendants engaged in unfair business practices;
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     5.     For damages, disgorgement, and injunctive relief under California's common and
            statutory law of unfair business practices;
     6.     For compensatory and statutory damages, attorneys' fees and costs according to
            proof at trial;
     7.     For exemplary damages in an amount sufficient to punish Defendants' w o n g h l
            conduct and deter hture misconduct;
     8.     For such other and further relief as the Court may deem just and proper.


IATED: January 4,20 10


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                                                  Respecthlly s mitted
                                                            /
                                                  SHAROM L. LAPIN
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                                                  Attorney for PlaintiffLGstine        M.




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